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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

EDWARD BRYANT                                                              PLAINTIFF

vs.                         CASE NO.:5:14-CV-0421 KGB-JTR

ATLAS TUBE, INC.; MIKE REDDY, Individually,
and in his Official Capacity as Atlas Supervisor;
STEVE MONNETTE, Individually, and in his
Official Capacity as Human Resource Manager;
RAY FAULKS, Individually, and in his Official
Capacity as Plant Manager; JERRY GARNER,
Individually, and in his Official Capacity as
Crane Operator; JIM JONES, Individually, and
in his Official Capacity as Crane Operator;
and CHARLES LENNARD, Individually, and in his
Official Capacity as Crane Operator                                    DEFENDANTS

    PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE
RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         Pursuant to Rule 6 of the Federal Rules of Civil Procedure, Plaintiff files this

motion for extension of time to file response in opposition to Defendants’ Motion

for Summary Judgment. (Dkt. 44, hereafter “Motion”) and states:

      1. On November 18, 2014, Plaintiff filed a Complaint in this matter. (Dkt. 1).

      2. On March 17, 2015, Plaintiff filed an Amended Complaint in this matter.

      3. On March 14, 2019, Defendants filed a Motion for Summary Judgment.

      (Dkt. 44).
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   4. The deadline to file a response to Defendants’ Motion has not yet expired.

   5. There is “good cause” to grant Plaintiff’s motion. This motion will enable

Plaintiff opportunity to conference with the plaintiff who resides outside Pulaski

County and works out of state assignments, to review the 300 plus page exhibits,

to provide responses in opposition to Defendants’ assertions, is in good faith, and

is not interposed for any delay or prejudice, but is in the best interest of justice.

The granting of this motion will not prejudice any of the parties to this action.

    6. Given the significance of the issues in the Motion, the Plaintiff is in need of

an additional fourteen (14) days to respond.

    7. Plaintiff emailed opposing counsel prior to filing this motion but has not

received response indicating posture on an extension.

      WHEREFORE, Plaintiff prays that this Court grant an extension of time to

file a response to the Defendants’ Motion until April 11, 2019, and for all other

proper and just relief.

                                                Respectfully submitted,

                                                Teresa Bloodman,
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